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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                      No. 17-20274

             Plaintiff,                         Hon. Bernard A. Friedman

       v.

 D-1 JUMANA NAGARWALA
 D-2 FAKHRUDDIN ATTAR
 D-3 FARIDA ATTAR
 D-4 TAHERA SHAFIQ
 D-5 FARIDA ARIF
 D-6 FATEMA DAHODWALA
 D-7 HASEENA HALFAL
 D-8 ZAINAB HARIYANAWALA

             Defendants.
                                            /

            GOVERNMENT’S RESPONSE TO DEFENDANTS’
                  MOTION TO ADJOURN (R. 335)

       For the reasons stated below, this Court should deny defendants’

 joint motion for a 90-day adjournment and, instead, grant a 30-day

 adjournment.

                                           MATTHEW J. SCHNEIDER
                                           United States Attorney




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                                           s/ Amy Markopoulos
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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                      No. 17-20274

             Plaintiff,                         Hon. Bernard A. Friedman

       v.

 D-1 JUMANA NAGARWALA,
 D-2 FAKHRUDDIN ATTAR,
 D-3 FARIDA ATTAR,
 D-4 TAHERA SHAFIQ,
 D-5 FARIDA ARIF
 D-6 FATEMA DAHODWALA
 D-7 HASEENA HALFAL
 D-8 ZAINAB HARIYANAWALA

             Defendants.
                                            /

       Defendants Jumana Nagarwala, Fakrhuddin Attar, Farida Attar,

 Tahera Shafiq, Farida Arif, Fatema Dahodwala, Haseena Halfal, and

 Zainab Hariyanawala filed a joint motion asking the Court to adjourn

 both the motions’ deadline and trial date for 90 days. As noted in the

 defendants’ joint motion, the Government does not concur in this request,

 but does concur in a 30-day adjournment. For the reasons stated below,

 a 30-day adjournment is sufficient for the defendants to file any

 additional motions and to appropriately prepare for trial. With a 30-day

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 adjournment, the defendants would still have almost seven weeks to file

 any motions specific to this third superseding indictment, and five

 months from the present date to prepare for trial.

    I.     PROCEDURAL HISTORY

         As this Court knows, the charges in this case were initially brought

 almost 17 months ago. The substance of those charges remain largely

 unchanged. The same eight defendants have been charged in this case

 since September 2017, and the substance of the charges – that minor girls

 were brought to Michigan to have Nagarwala perform an FGM procedure

 on them – remain the same.

         Jumana Nagarwala was arrested on a complaint on April 12, 2017.

 On April 26, 2017, a grand jury returned an Indictment against Jumana

 Nagarwala, Fakhruddin Attar and Farida Attar. [R. 16]. The Indictment

 alleged violations of the female genital mutilation statute (18 U.S.C. §

 116), conspiracy to commit female genital mutilation (18 U.S.C. § 371);

 transportation with intent to engage in criminal sexual activity (18

 U.S.C. § 2423(a)(e) (as to Nagarwala and Fakhruddin Attar)); and

 obstruction (18 U.S.C. § 1512). The allegations focused on the FGM

 procedures performed by Nagarwala on MV-1 and MV-2, both of whom


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 were brought from Minnesota to Michigan, with the assistance of the

 Attars.

       A First Superseding Indictment was returned on June 21, 2017,

 against those three defendants, along with Tahera Shafiq, Farida Arif,

 and Fatema Dahodwala. [R. 58]. The Superseding Indictment alleged

 that, together with Nagarwala and the Attars, Tahera Shafiq assisted in

 the FGM procedures and two defendants (Arif and Dahodwala) brought

 minor victims to Nagarwala to have an FGM procedure performed. The

 Superseding Indictment also added four additional minor victims – all

 from Michigan – in addition to MV-1 and MV-2 from Minnesota.

       On September 13, 2017, the grand jury returned a Second

 Superseding Indictment [R. 153].          Two additional defendants were

 charged – Halfal and Hariyanawala – who brought MV-1 and MV-2 from

 Minnesota to Michigan for the purposes of Nagarwala performing an

 FGM procedure on the minor victims. The substance of the remaining

 charges remained the same.

       With respect to the transportation count, 18 U.S.C. § 2423(a),

 Nagarwala and Fakhruddin Attar then filed a motion to dismiss that

 count, Count 6, which this Court granted on January 14, 2018.


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       On September 12, 2018, a grand jury returned a Third Superseding

 Indictment. The indictment charges the same eight defendants with

 substantially the same crimes. The changes are as follows:

          • Paragraphs about MV-7, MV-8 and MV-9 were added to the

             general allegations (¶¶ 16- 18);

          • Paragraphs about FGM procedures by Defendant Nagarwala

             for MV-7, MV-8 and MV-9 were added to the manner and

             means of the conspiracy to commit FGM (¶¶27-35, 41-42);

          • A count of female genital mutilation for MV-6 as to

             Defendants Nagarwala, Fakhruddin Attar, and Farida Attar

             (Count Six) was added;

          • A count of conspiracy to travel with intent to engage in illicit

             sexual conduct (Count Seven) for Defendant Nagarwala was

             added.

       Notably, none of the Defendants are charged in a substantive count

 of female genital mutilation for MV-7, MV-8 and MV-9. Instead, the

 Third Superseding Indictment added information about procedures for

 these victims to the conspiracy count (Count One). Although there is a

 new substantive FGM charge for MV-6, discovery regarding this victim


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 was previously provided to Defendants. Likewise, the new charge in

 Count Six is based on discovery previously provided to Defendants for

 MV-1 and MV-2.

    II.     ARGUMENT

          On January 15, 2018, this Court set trial in this matter for January

 15, 2019, with a motions cut off of July 2, 2018. [R. 269]. On April 26,

 2018, the defendants requested, and were granted, a 90-day adjournment

 to the motions deadline, and a new deadline of October 2, 2018 was set.

 The grand jury returned the Third Superseding Indictment on September

 12, 2018 – 4 months prior to the January 15, 2019 trial date.               In

 recognition of the additional charges, the Government has agreed that a

 30-day extension of the motions deadline and trial date, which would

 allow all defendants almost 5 months to prepare for trial, would be

 appropriate.

          While these charges have been pending, the government has

 diligently been producing discovery, including the forensic examinations

 of MV-1 through MV-6.          The defendants state that they need the

 additional time to review medical examinations of MV-7, MV-8, and MV-

 9 with their experts. On September 17, 2018, the government discussed


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 a timely plan for producing any additional, relevant discovery with

 counsel for the defendants. These additional allegations do not require a

 90-day delay for a trial that is four months away. And the defendants

 state no other reason that would support their request for a 90-day

 continuance. A 30-day continuance is more appropriate, and would allow

 the defendants five months to prepare for trial.

    III.   CONCLUSION

       For these reasons, the Defendants’ motion for a 90-day continuance

 should be denied and, instead, a 30-day continuance should be granted.

 As was ordered by the Court, the Government will be available to discuss

 a trial date at the September 26 motion hearing.

                                    Respectfully submitted,

                                    MATTHEW J. SCHNEIDER
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 Dated: September 19, 2018          211 West Fort Street, Ste. 2001
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                       CERTIFICATE OF SERVICE

        I certify that on September 19, 2018, I electronically filed this

  motion response for the United States with the Clerk of the United States

  District Court for the Eastern District of Michigan using the ECF system,

  which will send notification of such filing to counsel of record.


                                         /s/ Amy M. Markopoulos
                                         Trial Attorney
                                         Department of Justice




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